Case 1:15-cv-22134-UU Document 141 Entered on FLSD Docket 06/07/2016 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:15-cv-22134-UU

  HYDENTRA HLP INT. LIMITED,

         Plaintiff,

  v.

  CONSTANTIN LUCHIAN, et al.,

        Defendants.
  ___________________________________/

                                             ORDER

         THIS CAUSE is before the Court upon Plaintiff’s Motion to Dismiss without Prejudice

  Pursuant to FRCP 41(A)(2). D.E. 140.

         THE COURT has reviewed the Motion, the pertinent portions of the record and is

  otherwise fully advised in the premises.

         ORDERED AND ADJUDGED that Plaintiff’s Motion to Dismiss without Prejudice

  Pursuant to FRCP 41(A)(2) (D.E. 140) is GRANTED. Counts VI through VIII are hereby

  DISMISSED WITHOUT PREJUDICE. It is further

         ORDERED AND ADJUDGED that this case is CLOSED for administrative purposes.

         DONE AND ORDERED in Chambers, Miami, Florida, this 7th day of June, 2016.



                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
  cc: counsel of record.




                                               1
